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                                                        UNITED STATES BANKRUPTCY COURT
                                                           MIDDLE DISTRICT OF FLORIDA

    IN RE:                                                                               CASE NO.:        6:18-bk-04572
                      Brandy Nicole Galloway

                      Debtor(s)


                                                                       CHAPTER 13 PLAN


A.           NOTICES.

Debtor1 must check one box on each line to state whether or not the Plan includes each of the following items. If an item is checked as “Not
Included,” if both boxes are checked, or if neither box is checked, the provision will be ineffective if set out later in the Plan.

    A limit on the amount of a secured claim based on a valuation which may result in a partial payment          Included              Not Included
    or no payment at all to the secured creditor. See Sections C.5(d) and (e). A separate motion will be
    filed.
    Avoidance of a judicial lien or nonpossessory, nonpurchase money security interest under 11 U.S.C. §         Included              Not Included
    522(f). A separate motion will be filed. See Section C.5(e).
    Nonstandard provisions, set out in Section E.                                                                Included              Not Included

B.           MONTHLY PLAN PAYMENTS. Plan payments include Trustee's fee of 10% and shall begin 30 days from petition filing/conversion
             date. Debtor shall make payments to the Trustee for the period of 60 months. If the Trustee does not retain the full 10%, any portion
             not retained will be disbursed to allowed claims receiving payments under the Plan and may cause an increased distribution to the
             unsecured class of creditors.

                  $    2,575.00                                 from month 1                    through 60                  .
                  $                                             from month                      through                     .


C.           PROPOSED DISTRIBUTIONS.
             1.    ADMINISTRATIVE ATTORNEY’S FEES.

                  Base Fee $ 4,500.00                  Total Paid Prepetition $ 1,500.00                    Balance Due $ 3,000.00
                  MMM FEE $ 1,800.00                   Total Paid Prepetition $ 0.00                        Balance Due $ 1,800.00
                  Estimated Monitoring Fee at $ 50.00                    per Month.
                  Attorney's Fees Payable Through Plan at $ 78.95               Monthly (subject to adjustment)

             2.          DOMESTIC SUPPORT OBLIGATIONS (as defined in 11 U.S.C. §101(14A).

    Acct. No.                                   Creditor                                                                        Total Claim Amount
    -NONE-

             3.          PRIORITY CLAIMS: (as defined in 11 U.S.C. §507).

    Last Four Digits of Acct. No.               Creditor                                                                        Total Claim Amount
    -NONE-

          4.        TRUSTEE FEES. From each payment received from Debtor, the Trustee shall receive a fee, the percentage of which is fixed
periodically by the United States Trustee.

           5.        SECURED CLAIMS. Pre-confirmation payments allocated to secured creditors under the Plan, other than amounts allocated to
cure arrearages, shall be deemed adequate protection payments. The Trustee shall disburse adequate protection payments to secured creditors prior to
confirmation, as soon as practicable, if the Plan provides for payment to the secured creditor, the secured creditor has filed a proof of claim or Debtor
or Trustee has filed a proof of claim for the secured creditor under § 501(c), and no objection to the claim is pending. If Debtor’s payments under the
Plan are timely paid, payments to secured creditors under the Plan shall be deemed contractually paid on time.

                          (a) Claims Secured by Debtor’s Principal Residence Which Debtor Intends to Retain - Mortgage, HOA and Condo
                         Association Payments, and Arrears, if any, Paid Through the Plan. If the Plan provides for curing prepetition arrearages on a
                         mortgage on Debtor’s principal residence, Debtor will pay, in addition to all other sums due under the proposed Plan, all regular
                         monthly postpetition mortgage payments to the Trustee as part of the Plan. These mortgage payments, which may be adjusted up
                         or down as provided for under the loan documents, are due beginning the first due date after the case is filed and continuing each

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    All references to “Debtor” include and refer to both of the debtors in a case filed jointly by two individuals.
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                        month thereafter. The Trustee shall pay the postpetition mortgage payments for Debtor’s principal residence on the following
                        mortgage claims:

 Last Four              Creditor               Collateral                                 Regular                      Gap Payment                Arrears
 Digits of Acct.                               Address                                    Monthly
 No.                                                                                      Payment
           None

                         (b) Claims Secured by Other Real Property Which Debtor Intends to Retain - Mortgage Payments, HOA and Condo
                        Association Payments, and Arrears, if any, Paid Through the Plan. If the Plan provides to cure prepetition arrearages on a
                        mortgage, Debtor will pay, in addition to all other sums due under the proposed Plan, all regular monthly postpetition mortgage
                        payments to the Trustee as part of the Plan. These mortgage payments, which may be adjusted up or down as provided for under
                        the loan documents, are due beginning the first due date after the case is filed and continuing each month thereafter. The Trustee
                        shall pay the postpetition mortgage payments on the following mortgage claims:

 Last Four              Creditor               Collateral                                 Regular                      Gap Payment                Arrears
 Digits of Acct.                               Address                                    Monthly
 No.                                                                                      Payment
           None

                        (c) Claims Secured by Real Property/Debtor Intends to Seek Mortgage Modification. If Debtor obtains a modification of the
                        mortgage, the modified payments shall be paid through the Plan. Pending the resolution of a mortgage modification request,
                        Debtor shall make the following adequate protection payments to the Trustee: (1) for homestead property, the lesser of 31% of
                        gross monthly income of Debtor and non-filing spouse, if any (after deducting homeowners association fees), or the normal
                        monthly contractual mortgage payment; or (2) for non-homestead, income-producing property, 75% of the gross rental income
                        generated from the property.

 Last Four Digits of            Creditor                       Collateral Address                                                   Adequate Protection
 Acct. No.                                                                                                                                    Payment
 xxxxxxxxx9491                  FBC Mortgage LLC 1520 Softshell Street Saint Cloud, FL 34771                                                  1,806.00
                                                 Osceola County
                                                 Non-filing spouse is on deed, but is not a
                                                 signatory to promissory note for mortgage.

                      (d) Claims Secured by Real Property or Personal Property to Which Section 506 Valuation APPLIES (Strip Down).
                      Under 11 U.S.C. § 1322 (b)(2), this provision does not apply to a claim secured solely by Debtor’s principal residence. A
                      separate motion to determine secured status or to value the collateral must be filed. The secured portion of the claim,
                      estimated below, shall be paid. Unless otherwise stated in Section E, the payment through the Plan does not include payments for
                      escrowed property taxes or insurance.
 Last Four         Creditor             Collateral                                Claim                   Value              Payment           Interest
 Digits of                              Description/                            Amount                                       Through              Rate
 Acct. No.                              Address                                                                                   Plan
 -NONE-

                        (e) Liens to be Avoided Under 11 U.S.C. § 522 or Stripped Off Under 11 U.S.C. § 506. Debtor must file a separate motion
                        under § 522 to avoid a judicial lien or a nonpossessory, nonpurchase money security interest because it impairs an exemption or
                        under § 506 to determine secured status and to strip a lien.

 Last Four                                          Creditor                                 Collateral Description/
 Digits of Acct.                                                                             Address
 No.
 -NONE-



                        (f) Claims Secured by Real Property and/or Personal Property to Which Section 506 Valuation DOES NOT APPLY Under
                        the Final Paragraph in 11 U.S.C. § 1325(a). The claims listed below were either: (1) incurred within 910 days before the
                        petition date and secured by a purchase money security interest in a motor vehicle acquired for the personal use of Debtor; or (2)
                        incurred within one year of the petition date and secured by a purchase money security interest in any other thing of value. These
                        claims will be paid in full under the Plan with interest at the rate stated below.

 Last Four                    Creditor                 Collateral                          Claim                 Payment                    Interest Rate
 Digits of Acct.                                       Description/                       Amount             Through Plan
 No.                                                   Address


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 Last Four                    Creditor                 Collateral                           Claim               Payment                     Interest Rate
 Digits of Acct.                                       Description/                        Amount           Through Plan
 No.                                                   Address
 xxxxxxxx4001                 Bridgecrest              2013 Hyundai Sonata               17,027.96                  332.72                            6.5%
                                                       63,432 miles
                                                       Value based on NADA
                                                       clean trade-in

                        (g) Claims Secured by Real or Personal Property to be Paid with Interest Through the Plan under 11 U.S.C. § 1322(b)(2).
                        The following secured claims will be paid in full under the Plan with interest at the rate stated below.

 Last Four Digits of          Creditor                 Collateral                    Claim Amount       Payment Through                     Interest Rate
 Acct No.                                              Description/Address                                         Plan
 -NONE-


                        (h) Claims Secured by Personal Property – Maintaining Regular Payments and Curing Arrearage, if any, with All
                        Payments in Plan.

 last Four Digits Creditor                             Collateral               Regular                                                        Arrearage
 of Acct No.                                           Description              Contractual
                                                                                Payment
                        Turtle Creek Res. 1520 Softshell Street                                                        0.00                        250.00
                        Assn.             Saint Cloud, FL 34771
                                          Osceola County
                                          Non-filing spouse is on
                                          deed, but is not a
                                          signatory            to
                                          promissory note for
                                          mortgage.

                        (i) Secured Claims Paid Directly by Debtor. The following secured claims are being made via automatic debit/draft from
                        Debtor’s depository account and are to continue to be paid directly to the creditor or lessor by Debtor outside the Plan via
                        automatic debit/draft. The automatic stay is terminated in rem as to Debtor and in rem and in personam as to any codebtor as to
                        these creditors and lessors upon the filing of this Plan. Nothing herein is intended to terminate or abrogate Debtor’s state law
                        contract rights.

 Last Four Digits of Acct. No.                 Creditor                             Property/Collateral
 xxxx                                          AT&T                                 Cell service contract and phone purchase

                        (j) Surrender of Collateral/Property that Secures a Claim. Debtor will surrender the following collateral/property. The
                        automatic stay under 11 U.S.C. Sections 362(a) and 1301(a) is terminated in rem as to Debtor and in rem and in personam as to
                        any codebtor as to these creditors.

 Last 4 Digits of Acct No.                             Creditor                                 Collateral/Property Description/Address
 -NONE-

                        (k) Secured Claims That Debtor Does Not Intend to Pay. Debtor does not intend to make payments to the following secured
                        creditors. The automatic stay is terminated in rem as to Debtor and in rem and in personam as to any codebtor with respect to
                        these creditors upon the filing of this Plan. Debtor’s state law contract rights and defenses are neither terminated nor abrogated.

 Last Four Digits of Acct. No.                                 Creditor                                                                       Collateral
                                                                                                                                    Description/Address
 -NONE-

           6.        LEASES / EXECUTORY CONTRACTS. As and for adequate protection, the Trustee shall disburse payments to creditors
under leases or executory contracts prior to confirmation, as soon as practicable, if the Plan provides for payment to creditor/lessor, the
creditor/lessor has filed a proof of claim or Debtor or Trustee has filed a proof of claim for the secured creditor/lessor under § 501(c), and no
objection to the claim is pending. If Debtor’s payments under the Plan are timely paid, payments to creditors/lessors under the Plan shall be deemed
contractually paid on time.

                        (a) Assumption of Leases/Executory Contracts for Real or Personal Property to be Paid and Arrearages Cured Through
                        the Plan. Debtor assumes the following leases/executory contracts and proposes the prompt cure of any prepetition arrearage as
                        follows.


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 Last Four Digits              Creditor/Lessor               Description of           Regular                                                 Arrearage and
 of Acct No.                                                 Leased Property          Contractual                                             Proposed Cure
                                                                                      Payment
 -NONE-

                        (b) Assumption of Leases/Executory Contracts for Real or Personal Property to be Paid Directly by Debtor. Debtor
                        assumes the following lease/executory contract claims that are paid via automatic debit/draft from Debtor’s depository account
                        and are to continue to be paid directly to the creditor or lessor by Debtor outside the Plan via automatic debit/draft. The automatic
                        stay is terminated in rem as to Debtor and in rem and in personam as to any codebtor as to these creditors and lessors upon the
                        filing of this Plan. Nothing herein is intended to terminate or abrogate Debtor’s state law contract rights.

 Last Four Digits of Acct. No.                              Creditor/Lessor                             Property/Collateral
 -NONE-

                        (c) Rejection of Leases/Executory Contracts and Surrender of Real or Personal Leased Property. Debtor rejects the
                        following leases/executory contracts and will surrender the following leased real or personal property. The automatic stay is
                        terminated in rem as to Debtor and in rem and in personam as to any codebtor as to these creditors and lessors upon the filing of
                        this Plan.

 Last Four Digits of Acct. No.                              Creditor/Lessor                             Property/Collateral to be
                                                                                                        Surrendered
 -NONE-

          7.        GENERAL UNSECURED CREDITORS. General unsecured creditors with allowed claims shall receive a pro rata share of
the balance of any funds remaining after payments to the above referenced creditors or shall otherwise be paid under a subsequent Order Confirming
Plan. The estimated dividend to unsecured creditors shall be no less than $ 853.74 .

D.          GENERAL PLAN PROVISIONS:

            1. Secured creditors, whether or not dealt with under the Plan, shall retain the liens securing such claims.

            2. Payments made to any creditor shall be based upon the amount set forth in the creditor’s proof of claim or other amount as allowed by an
               Order of the Bankruptcy Court.

            3. If Debtor fails to check (a) or (b) below, or if Debtor checks both (a) and (b), property of the estate shall not vest in Debtor until the
               earlier of Debtor’s discharge or dismissal of this case, unless the Court orders otherwise. Property of the estate

                  (a)     X     shall not vest in Debtor until the earlier of Debtor’s discharge or dismissal of this case, unless the Court orders otherwise;
                  or

                  (b)         shall vest in the Debtor upon confirmation of the Plan.

            4. The amounts listed for claims in this Plan are based upon Debtor’s best estimate and belief and/or the proofs of claim as filed and
               allowed. Unless otherwise ordered by the Court, the Trustee shall only pay creditors with filed and allowed proof of claims. An allowed
               proof of claim will control, unless the Court orders otherwise.

            5. Debtor may attach a summary or spreadsheet to provide an estimate of anticipated distributions. The actual distributions may vary. If the
               summary or spreadsheet conflicts with this Plan, the provisions of the Plan control prior to confirmation, after which time the Order
               Confirming Plan shall control.

            6. Debtor shall timely file all tax returns and make all tax payments and deposits when due. (However, if Debtor is not required to file tax
               returns, Debtor shall provide the Trustee with a statement to that effect). For each tax return that becomes due after the case is filed,
               Debtor shall provide a complete copy of the tax return, including business returns if Debtor owns a business, together with all related
               W-2s and Form 1099s, to the Trustee within 14 days of filing the return. Unless otherwise ordered, consented to by the Trustee, or
               ordered by the Court, Debtor shall turn over to the Trustee all tax refunds in addition to regular Plan payments. Debtor shall not instruct
               the Internal Revenue Service or other taxing agency to apply a refund to the following year’s tax liability. Debtor shall not spend any
               tax refund without first having obtained the Trustee’s consent or Court approval.

E.          NONSTANDARD PROVISIONS as Defined in Federal Rule of Bankruptcy Procedure 3015(c). Note: Any nonstandard provisions of
            this Plan other than those set out in this section are deemed void and are stricken.




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                                                                     CERTIFICATION

          By filing this document, the Attorney for Debtor, or Debtor, if not represented by an attorney, certifies that the wording and order
of the provisions in this Chapter 13 plan are identical to those contained in the model Plan adopted by this Court, and that this plan contains
no additional or deleted wording or nonstandard provisions other than any nonstandard provisions included in Section E.

SIGNATURE(S):

Debtor(s)
/s/ Brandy Nicole Galloway                                                           Date August 13, 2018
Brandy Nicole Galloway

                                                                                     Date


Attorney for Debtor(s)
/s/ Alejandro Rivera, Esq.                                                           Date August 13, 2018
Alejandro Rivera, Esq. 90038




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